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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------X
                                         :
SECURITIES AND EXCHANGE COMMISSION,      :
                                         :                         1:22-cv-03216 (RA)
                Plaintiff,               :
                                         :
     -v-                                 :
                                         :
MOSHE STRUGANO and RINAT GAZIT,          :                         NOTICE OF MOTION
                                         :
                                         :
                Defendants.              :
                                         :
-----------------------------------------X

       PLEASE TAKE NOTICE that upon the accompanying Declaration of Nelson A. Boxer,

dated July 12, 2023, the undersigned will move this Court before the Honorable Ronnie Abrams,

United States District Judge, in Courtroom 1506 of the United States District Court, 40 Foley

Square, New York, New York, 10007, at a date and time convenient for the Court, pursuant to

United States District Courts, Southern and Eastern Districts of New York, Local Civil Rule 1.4,

for an Order permitting withdrawal of Petrillo Klein + Boxer LLP as Counsel for Defendant

Rinat Gazit in the above-captioned action. The undersigned further requests, under Section 2.5

of the Electronic Case Filing (ECF) Rules and Instructions, that the emails nboxer@pkbllp.com

and ckaram@pkbllp.com be removed from the ECF service notifications for this case.




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Dated: July 12, 2023
       New York, New York
                                              PETRILLO KLEIN + BOXER LLP

                                              /s/ Nelson A. Boxer
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